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BRUCE CARD, ) C.§§.j£g __.` laws
-' ~ . _\.J.J::., i_JIST,
Plaimiff, )
)
vs. ) No. 03_2528 Ml/An
)
AMrsUB (sFH), lNC. d/b/a )
sT. FRANCIS HoSPITAL and B. )
LAWsoN, M.s., )
)
Defendants. )

 

ORDER GRANTING IN PART AND DENYING IN PART EMERGENCY
MOTION TO EXTEND ALL DEADLINES AND TO SET A NEW
RULE 16(b) SCHEDULING CONFERENCE

 

Before the Court is Plaintiff’S Emergency Motion to Extend AlI Deadlines and to Set a
New Ru]e l6(b) Scheduling Cont`erence filed on April 22, 2005. For the reasons Set forth below,
the Motion is GRANTED in part and DENIED in part.

Rule l6(b) of the F ederal Rules of Civil Procedure provides that “[a] schedule shall not
be modified except upon a showing of good cause and by leave of the District Judge, or When
authorized by Local Rule, by a Magistrate Judge.”l Fed. R. Civ. P. l6(b). “The primary measure
of Rule 16'S ‘ good cause’ standard is the moving party’s diligence in attempting to meet the case
management orders and requirements.” Latom`a Inge v. Rock Financz`al Corp., 281 F.3d 613, 625

(6th Cir. 2002) (citing Bradford v. Dana Corp., 249 F.3d 807, 809 (Bth Cir. 2001)).

 

l Pursuant to Administrative Order No. 2003, Motions to Amend Scheduling Order are to be decided by the
Magistrate Judge without a specific order of reference

 

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In this case, Plaintiff requests that the Court extend all discovery deadlines, but
Defendants oppose any extension by the Court. Defendants State that Plaintiff’ s counsel J ames
W. Hodges, Jr. has been involved with this case for an extended period of time; therefore, the
Court should not permit Mr. Hodges additional time to conduct discovery. Defendants argue that
Mr. Hodges entered a Notice of Appearance in this case on January 15, 2004, but after review,
the Court concludes that the docket sheet does not indicate that Mr. Hodges entered a Notice of
Appearance. Mr. Hodges did not sign Plaintiff’s Complaint, and Mr. Hodges first signed a
pleading on March 12, 2004 When he signed Plaintiff’s Response to Defendant’s Motion to
Di.smiss.2 Therefore, Mr. Hodges was involved in this case for at least nine months before the
December discovery deadline

Additionally, former Plaintiff counsel Mr. W. Michael Lal<ey stated in his l\/Iotion to
Withdraw that Mr. Hodges was responsible for preparing a draft of Plaintiff’ s discovery requests
by December 6, 2004, but Mr. Hodges did not timely prepare the draft. Mr. Lakey therefore
requested he be permitted to withdraw because of Mr. Hodges’ “inaction in achieving
compliance with the Court’s deadline for written discovery.” (Lakey’s Mem. in Supp. of Mot. to
Withdraw as Counsel, at 2). On December 21, 2004, United Stated District Judge Jon P.
McCalla granted Mr. Lakey’s Motion to Withdraw, leaving Mr. Hodges as the only counsel of
record for Plaintiff`.

An initial Rule lo(b) Scheduling Order was entered by the Court on October 2l, 2003
(docl<et entry # 9). These deadlines were later modified by Judge McCalla on October 15, 2004.

ln a revised Scheduh'ng Order, Judge McCalla established that written discovery was due no later

 

2Forrner Plaintiff counsel Mr. Lakey signed Mr. Hodges’ name with permission

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than December 17, 2004.3 The parties thereafter filed a Joint Motion for Extension of Deadlines
on December 22, 2004, and the undersigned granted the Motion for Extension of Discovery
Deadlines on January 4, 2005, giving the parties until February l, 2005 to complete discovery
On February l, 2005, Plaintiff filed an additional Motion to Extend the Discovery Deadline, but
this motion was opposed by Defendant. The Court denied this motion as moot because the time
period relevant to the motion had lapsed.4

The instant motion requests that the Court establish all new deadlines and conduct a new
Scheduling Conference. After review, the Court does not find that Plaintiff has shown sufficient
good cause to start this case from the beginning and establish all new dates for completing pre-
trial matters Nevertheless, there may have been some confusion over when Mr. Hodges was to
assume full responsibility of this case and there may have been some confusion over whether the
parties were to complete discovery by December 2004 or June 2005.5 Therefore, the Court
concludes the current motion should be GRANTED in part and DENIED in part. Based upon
the Minute Entry from the October 15, 2004 Conference, the Rule l6(b) Scheduling Order
should be amended to give the parties until June 17, 2005 to complete written discovery in this

CHS€.

 

3The Court’s Scheduling Order, entered on October 21, 2004, lists December 17, 2004 as the discovery
deadline However, the Court notes that the Minute Entry for the status conference held before Judge McCalla on
October 15, 2004 lists the deadline for discovery as June 17, 2005 .

4ln a footnote in the Order denying the motion as moot, Judge McCalla stated that Plaintiff had
demonstrated good cause for an extension of time to complete written discovery, and that the Plaintiff could file an
additional motion seeking additional time to complete written discovery, if necessary. However, the instant motion
requests that all new deadlines be established and that a new Scheduling Conference be held.

5The undesigned’s law clerk spoke with Mr. Hodges, and Mr. Hodges notified the Court he had not

received a copy of the Court’s Order Granting Mr. Lakey’s Motion to Withdraw. The Court, however, notes that
Mr. Hodges is listed as the first entry ofNotice ofDistribution.

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Plaintiff’ s request to extend the remaining deadlines is DENIED. All remaining
deadlines in the Court’s Scheduling Order, entered on October 21, 2004, shall remain as

established

IT IS SO ORDERED.

g a

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Date: M#'F 27; M

 

srs

RNDI

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:03-CV-02528 was distributed by fax, mail, or direct printing on
June 7, 2005 to the parties listed.

ESSEE

 

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Honorable .l on McCalla
US DISTRICT COURT

